  Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 1 of 29




 1

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8                                             ***
 9   MICHAEL ERWINE,
10                        Plaintiff,                   Case No.: 3:18-cv-00461-RCJ CSD
     vs.
11
     CHURCHILL COUNTY, a political
12   subdivision of the State of Nevada,               PRETRIAL ORDER
     CHURCHILL COUNTY SHERIFF
13   BENJAMIN TROTTER, and DOES 1
     through 10 inclusive;
14
                      Defendants.
15   _____________________________________/
16

17          After pretrial proceedings in this case,

18          IT IS ORDERED:

19         I.This is an action for

20          Plaintiff MICHAEL ERWINE has filed claims against CHURCHILL COUNTY, a

21 political subdivision of the State of Nevada and former CHURCHILL COUNTY

22 SHERIFF BENJAMIN TROTTER herein for violation of his liberty interest due process

23 rights under the Nevada and US Constitutions, tortious discharge, defamation,

24 defamation per se, and intentional interference with prospective employment. On April

25 29, 2021, the parties filed a stipulation for dismissal of Erwine’s procedural due

26 process property interest claim and the Court dismissed this claim accordingly. See

27 ECF #114. Erwine is also pursuing a Monell claim against Churchill County because

28 Sheriff Trotter was the official with final policy making authority at the Churchill County


                                                 1
  Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 2 of 29




 1 Sheriff’s Office. Erwine contends that was discharged without any due process and

 2 contrary to law by Defendants Churchill County and Sheriff Benjamin Trotter in

 3 response to his documentation of the misconduct of his fellow employees at the

 4 Churchill County Jail and that subsequent to his discharge, defamatory and

 5 stigmatizing information placed in his personal file without his knowledge was

 6 published to other law enforcement agencies to which he applied for employment.

 7         II. Statement of jurisdiction:

 8         This action arises primarily under 42 U.S.C. Section 1983. This Court has

 9 jurisdiction of this action pursuant to 28 U.S.C. Sections 1331, 1343, 1367, 2201 and

10 42 U.S.C. Sections 1983 and 1988, as the Plaintiff’s claim arises under Federal Law.

11 The Court has personal jurisdiction over the Defendants because the alleged incident

12 described below occurred within this District. Venue is proper pursuant to 28 U.S.C.

13 Section 1391 in the Northern District of Nevada because the acts giving rise to the

14 Plaintiff’s claims occurred in this District.

15         III. The following facts are admitted by the parties and require no proof:

16         1.      From December 9, 2015 until October 10, 2016, Plaintiff was employed

17         as a Deputy Sheriff for the Churchill County Sheriff’s Office.

18         2.      Churchill County employed Erwine in the capacity of Detention Deputy

19         at the County Jail.

20         3.      On Sunday, October 9, 2016, Deputy Jolie Jabines knocked over a can

21         containing tools and screws while removing inmate property from the booking

22         cage.

23         4.      Erwine was provided with no written notice that he had been accused

24         misconduct before Erwine executed the Letter of Separation on October 10,

25         2016 (See RFA No.1).

26         5.      A memorandum dated October 10, 2016, was placed in Erwine’s

27         personnel file.

28


                                                   2
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 3 of 29




 1      6.      Statements from CCSO employees Thompson, Summers and Jabines

 2      were placed in Erwine’s personnel file.

 3      7.      Erwine was not afforded a hearing before Erwine executed the Letter of

 4      Separation on October 10, 2016 (RFA No. 2).

 5      8.      Sheriff Trotter authored the October 10, 2016 Memorandum (RFA No.

 6      4); Sheriff Trotter placed the October 10, 2016 Memorandum into Erwine’s

 7      personnel file (RFA No. 5).

 8      9.      The October 10, 2016 Memorandum was not provided to Erwine before

 9      the Letter of Separation on October 10, 2016 was executed by Erwine.

10      10.     The October 10, 2016 Memorandum was never shown to Erwine such

11      that he may have read and initialed the document before it was placed in his

12      personnel file (RFA No. 8).

13      11.     The October 10, 2016 Memorandum contains no notation to the effect

14      that the document was shown to Erwine and that Erwine refused to initial the

15      document (RFA No. 9).

16      12.     The accuracy of the charges against Erwine in the October 10, 2016

17      Memorandum are contested.

18      13.     Sheriff Trotter was the head official with policy making authority over

19      decisions of the Churchill County Sheriff’s Office at all times relevant to this

20      case.

21      14.     Michael Erwine was employed as a security officer for Allied Universal

22      from April 25, 2017, to January 18, 2018.

23      15.     Michael Erwine was employed as a police officer with the Pyramid Lake

24      Paiute Tribe from January 8, 2018, through April 4, 2018.

25      16.     Michael Erwine was employed as a security officer for Triumph

26      Protection Group from June 28, 2018, through October 27, 2019.

27      17.     Michael Erwine commenced employment as a police officer for the

28      Washoe Tribe of Nevada and California in November of 2019.


                                            3
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 4 of 29




 1      18.    Michael Erwine is currently employed as a police officer for the Washoe

 2      Tribe of Nevada and California.

 3      19.   The Defendants never sent Erwine’s personnel file to the Pyramid Lake

 4      Paiute Tribe.

 5      20.   The Defendants never sent Erwine’s personnel file to the Washoe Tribe

 6      of California and Nevada.

 7      IV. The following facts, though not admitted, will not be contested at trial

 8      by evidence to the contrary:

 9      21.   On October 8, 2016, Erwine went in for the day shift and began checking

10      cells. Erwine was informed that an inmate, Andrew Beaulieu ("Beaulieu") was in

11      the security cell and needed to be booked.

12      22.   When Erwine arrived at Beaulieu' s security cell he noticed blood on the

13      walls and asked the grave shift deputy what the blood was from.

14      23.   At the meeting with Sheriff Trotter on October 10, 2016, Erwine was

15      informed that he would receive his vacation pay/sick pay if he chose to resign

16      rather than be terminated, but that he would be terminated in either case.

17      V. The following are the issues of fact to be tried and determined at trial:

18      (a) Plaintiff’s Issues of Fact to be Tried and Determined Upon Trial

19      24.   On October 8, 2016, Erwine was informed by the inmate and later

20      confirmed during review of surveillance footage that every time Beaulieu would

21      request water, the grave shift deputy would flush the drain in Beaulieu's cell

22      making Beaulieu's request inaudible over the flushing noise.

23      25.   The grave shift deputy informed Erwine that Beaulieu had come in with

24      a cut on his hand and that it ripped open while in the cell.

25      26.   After investigating the circumstances, Erwine discovered Beaulieu had

26      been requesting water for hours.

27

28


                                             4
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 5 of 29




 1      27.   Erwine provided Beaulieu with water pursuant to his essential job

 2      functions to provide inmates with food and explained to Beaulieu what the rest

 3      of the booking process would look like.

 4      28.   During this time, Beaulieu expressed to Erwine that the grave shift

 5      deputies were "assholes”, and he would be filing a lawsuit against them.

 6      29.   Erwine continued to conduct his rounds in the jail. While Erwine was

 7      conducting his rounds, other inmates asked Erwine what had happened to the

 8      "guy in the security cell" the previous night and explained what the grave shift

 9      did "was messed up."

10      30.   Erwine reviewed surveillance footage of the grave shift's interaction with

11      Beaulieu before he removed him for booking, mainly to be aware of any safety

12      concerns with Beaulieu before removing him from the security cell.

13      31.   Erwine did not note any alarming actions by Beaulieu wherein Erwine

14      would need to be concerned, however, he did note concerning inappropriate

15      acts of the grave shift deputy that he believed needed to be brought to his

16      sergeant's attention.

17      32.   Inmate Zachary White even filed a grievance request to Captain

18      Matheson regarding the treatment of Beaulieu.

19      33.   Since the concerns were not an immediate threat, and the sergeant did

20      not work on weekends, Erwine chose to log the events on his computer so he

21      could follow up with his sergeant on Monday, October 10, 2016, when his

22      sergeant returned to work.

23      34.   On October 9, 2016, Deputy Jabines did not want to pick up items

24      herself, so she asked an inmate to come into the booking cage and pick them

25      up for her. Bringing in an inmate to pick up the sharp inmates created a

26      dangerous situation for everyone involved.

27

28


                                            5
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 6 of 29




 1      35.   Erwine did not feel it was appropriate for Deputy Jabines to have an

 2      inmate, Matthew Maes, come into the booking cage to pick up items which

 3      could be easily used as weapons.

 4      36.   Erwine questioned Deputy Jabines about this but her only response was

 5      "Senior Deputy" which Erwine understood as to mean he did not have a say in

 6      the matter.

 7      37.   When the Maes came into the cage, Erwine positioned himself between

 8      Maes and the control panel of the facility.

 9      38.   Erwine was in an uncomfortable position with Maes being only a few feet

10      away from Erwine and backed into a corner. Erwine removed his taser from its

11      holster and held it in his hand with the taser pointed to the ground.

12      39.   Erwine removed the cartridge from the taser due to the close proximity

13      of inmate Maes to both Erwine and Deputy Jabines. Maes cleaned up the items

14      and left the cage without incident.

15      40.   Near the end of Erwine's shift on October 10, 2016, Erwine was

16      confronted by Captain Matheson and Sheriff Trotter.

17      41.   Sheriff Trotter informed Erwine that he was aware of the booking that

18      took place over the weekend with Beaulieu and that Erwine was intentionally

19      trying to harm the Department. Erwine began to speak about the Beaulieu

20      Incident as he had originally intended to do from the beginning of his shift that

21      day, however, Erwine was not afforded any opportunity to explain what he had

22      witnessed or discovered, nor was he provided with any notice of the meeting

23      or that we was to be terminated at the meeting.

24      42.   On October 10, 2016, Erwine was advised that he could resign or he

25      would be terminated.

26      43.   Erwine’s financial situation was not secure, and he had moved to

27      Churchill County and signed a lease so that he could work as a deputy there.

28


                                              6
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 7 of 29




 1      44.   The job at Churchill County was Erwine’s first position in law enforcement

 2      after graduating from the academy, and a termination would have been

 3      catastrophic on his future career prospects.

 4      45.   Erwine was forced to make a snap decision under financial duress and

 5      Erwine signed a Letter of Separation on October 10, 2016.

 6      46.   Sheriff Trotter’s October 10, 2016 Memorandum is riddled with

 7      stigmatizing allegations against Mr. Erwine as it alleges that Erwine “failure to

 8      follow proper chain of command,” engaged in “conduct unbecoming a deputy

 9      and unjustifiable use of force,” that created “liability" for the agency, was

10      “unprofessional,” or violated the “taser and use of force” policy as well as

11      “behavioral standards.”

12      47.   The allegations in the October 10, 2016 Memorandum involve questions

13      of Mr. Erwine’s honesty and morality.

14      48.   Despite initially denying that the October 10, 2016 Memorandum and

15      personnel file was shared with any outside law enforcement agency the

16      Defendants later admitted that the October 10, 2016 Memorandum, in addition

17      to Mr. Erwine’s entire personnel file, was shared with the Washoe County

18      Sheriff’s Office, after Washoe County provided a response to a subpoena in

19      which it was clear that Erwine’s entire employee file was sent to the Washoe

20      County Sheriff’s Office.

21      49.   Upon requesting and receiving his employee file from Churchill County

22      on April 13, 2018, Erwine discovered the existence of the October 10, 2016

23      Memorandum and the statements regarding the incidents with Maes and

24      Beaulieu were placed in his employment file.

25      50.   Churchill County failed to allow Erwine an opportunity to refute the

26      veracity of the charges by Sheriff Trotter.

27

28


                                             7
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 8 of 29




 1      51.   Subsequent to Erwine’s departure from the Churchill County Sheriff’s

 2      Office, after Erwine sought other law enforcement jobs, Erwine was rejected

 3      from multiple police agencies for failing to pass background investigations.

 4      52.   On January 17, 2017, Erwine received a letter from the Washoe County

 5      Sheriff informing him that, "…the Sheriff's Office has determined that you do

 6      not meet the established standards for a position as Deputy Sheriff and

 7      therefore you have not been selected at this time.”

 8      53.   On February 7, 2017, Erwine received an email from Las Vegas

 9      Metropolitan Police in response to his application for employment informing

10      him, "…based on review of your background history, you will no longer be

11      considered for the position(s) of Police Recruit C 16-001 November with the

12      Las Vegas Metropolitan Police Department. Candidate does not meet LVMPD

13      hiring standards based on Employment History” and “You are not eligible to

14      apply with LVMPD for any position indefinitely.”

15      54.   On September 8, 2017, Erwine received a letter from the Carson City

16      Department of Alternative Sentencing informing him that he is, "…no longer

17      being considered in the current recruitment due to failing on or more portions

18      of the selection process" which included the Background Investigation and

19      Chiefs Review, and “Based on our recruitment standards you are precluded

20      from reapplying with our agency in the future.”

21      55.   On September 12, 2017, Erwine received from Douglas County Sheriff a

22      letter informing him that he, "…did not successfully complete the background

23      evaluation/testing and therefore are no longer considered an eligible applicant

24      for employment.... "

25      56.   On November 14, 2017, Erwine received a letter from North Las Vegas

26      Police informing him he was "...ineligible to continue in the employment process

27      for the position of Police Officer ... " for character Issues and his employment

28      history,” and “You are disqualified indefinitely.


                                             8
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 9 of 29




 1      57.   On March 1, 2018, Erwine received a letter from Reno Police Department

 2      informing him that his, " ... application for employment with the Reno Police

 3      Department for [Police Recruit] was rejected, based on your pre-employment

 4      background investigation.”

 5      58.   On February 8, 2021, the undersigned counsel received the Plaintiff’s

 6      background file from the Las Vegas Metropolitan Police Department

 7      (“LVMPD”), which was sought by the Defendant pursuant to a subpoena issued

 8      by the Defendants. Included in LVMPD’s response is a note from the

 9      background investigator Scott Olsen indicating that Olsen had a telephone

10      conversation with Sheriff Trotter regarding Plaintiff Mr. Erwine’s employment

11      with Churchill County.

12      59.   Sheriff Trotter indicated to Mr. Olsen that Mr. Erwine was terminated

13      because he initiated an unauthorized investigation that was beyond his duties

14      and that Mr. Erwine was sympathetic to an inmate who was looking to file a

15      lawsuit against Churchill County.

16      60.   Mr. Olsen also indicates that Sheriff Trotter indicated that an investigation

17      was conducted, presumably of the incident involving Mr. Beaulieu.

18      61.   There has been a public disclosure of the stigmatizing charge made by

19      Sheriff Trotter against Erwine.

20      62.   The charge was made in connection with Mr. Erwine’s termination from

21      Churchill County.

22      63.   At all times relevant to this case, Sheriff Trotter and Churchill County

23      were acting under color of state law.

24      64.   Sheriff Trotter and Churchill County deprived the Plaintiff of his rights

25      under the laws of the State of Nevada and the United States Constitution.

26      65.   Sheriff Trotter and Churchill County terminated Erwine’s employment.

27      66.   Sheriff Trotter and Churchill County impaired Erwine’s reputation for

28      honesty and morality.


                                            9
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 10 of 29




 1      67.    Erwine was effectively excluded, or suffered a prolonged interruption of,

 2      employment in the law enforcement field because of the actions of Sheriff

 3      Trotter and Churchill County.

 4      68.    Sheriff Trotter and Churchill County made a false and defamatory

 5      statement concerning plaintiff and his professional abilities;

 6      69.    Sheriff Trotter and Churchill County made unprivileged publication of the

 7      statement was made to a third person;

 8      70.    Sheriff Trotter and Churchill County were at least negligent in making

 9      the statement.

10      71.    Erwine sustained actual damages as a result of the statement.

11      72.    Sheriff Trotter and Churchill County statements tend to disparage the

12      plaintiff’s professional ability

13      73.    Erwine’s resignation was induced by an action and conditions that violate

14      public policy

15      74.    A reasonable person in Erwine’s position at the time of the resignation

16      would have also resigned because of the aggravated and intolerable

17      employment action and conditions.

18      75.    Churchill County and Sheriff Trotter had actual or constructive

19      knowledge of the intolerable actions and conditions and their impact on Erwine.

20      76.    Churchill County and Sheriff Trotter could have been remedied Erwine’s

21      employment conditions.

22      b.     Defendants’ Issues of Fact to be Tried and Determined Upon Trial

23      77.    As a law enforcement officer with the Pyramid Lake Paiute Tribe, Michael

24      Erwine performed the general duties of a law enforcement officer from traffic

25      enforcement to in-depth investigations.

26      78.    As a law enforcement officer with the Washoe Tribe of Nevada and

27      California, Michael Erwine’s duties included everything a general law

28      enforcement officer would handle.


                                            10
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 11 of 29




 1      79.    Michael Erwine regained employment in his chosen field of law

 2      enforcement on January 8, 2018, when he commenced employment with the

 3      Pyramid Lake Paiute Tribe, and again in November of 2019, when he

 4      commenced employment with the Washoe Tribe of Nevada and California.

 5      80.    On October 8, 2016, Michael Erwine conducted an unauthorized

 6      investigation relating to inmate Andrew Beaulieu.

 7      81.    Between October 8, 2016, and October 10, 2016, Michael Erwine did not

 8      report alleged concerns related to Andrew Beaulieu to his supervisor or up the

 9      chain of command at the Churchill County Sheriff’s Office.

10      82.    On October 9, 2016, Michael Erwine was involved in a use of force

11      incident in connection with use of his taser in the booking room at the Jail while

12      in the presence of trustee inmate Michael Maes.

13      83.    Whether     Michael   Erwine        was   constructively   discharged   from

14      employment in conjunction with a false, stigmatizing statement.

15      84.    Whether stigmatizing statements in the October 10, 2016, memorandum

16      were so severe as to effectively exclude Michael Erwine completely from his

17      chosen profession of law enforcement.

18      85.    Whether the stigmatizing statements in the October 10, 2016,

19      memorandum merely caused Michael Erwine reduced economic returns and

20      diminished prestige, but not permanent exclusion from, or protracted

21      interruption of, gainful employment within his trade or profession of law

22      enforcement.

23      86.    Whether the statements in the memorandum of October 10, 2016, were

24      substantially false.

25      87.    Whether Michael Erwine sought to refute the veracity of the charges after

26      October 10, 2016, before filing suit in the United States District Court on

27      September 28, 2018.

28


                                              11
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 12 of 29




 1      88.    Whether Ben Trotter’s statements impair Michael Erwine’s reputation for

 2      honesty or morality.

 3      89.    Whether, and to what extent, Ben Trotter’s statements were publically

 4      disclosed.

 5      90.    Whether, in making the statements at issue, Ben Trotter’s conduct was

 6      malicious, oppressive, or in reckless disregard of Michael Erwine’s rights.

 7      91.    Michael Erwine was offered employment as a deputy sheriff with the

 8      Churchill County Sheriff’s Office on March 11, 2021.

 9      92.    Michael Erwine rejected Churchill County’s March 11, 2021, offer of

10      employment with the Churchill County Sheriff’s Office.

11      93.    The present value of Erwine’s future damages, if any.

12      94.    Whether Michael Erwine had a prospective employment relationship with

13      a third party about which Ben Trotter had knowledge.

14      95.    Whether Ben Trotter engaged in acts or conduct with the intent to

15      interfere with or disrupt a prospective employment relationship of Michael

16      Erwine’s with a third party.

17      96.    Whether Ben Trotter’s conduct with respect to a prospective

18      employment relationship of Michael Erwine’s caused damages to him.

19      97.    Whether Ben Trotter made an unprivileged publication of a false and

20      defamatory statement concerning Michael Erwine.

21      98.    Whether Ben Trotter’s actions were privileged or justified.

22      99.    Whether Ben Trotter’s statement was statement of opinion, not fact.

23      100. Whether Ben Trotter’s statement was made with knowledge of its falsity

24      or reckless disregard for its truth.

25      101. Whether Michael Erwine sustained actual or special damages as a result

26      of an unprivileged publication by Ben Trotter of a false and defamatory

27      statement.

28


                                               12
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 13 of 29




 1      102. Whether Michael Erwine’s resignation was induced by action and

 2      conditions that were in violation of public policy of the State of Nevada

 3      103. Whether a reasonable person in Michael Erwine’s position at the time of

 4      resignation would have also resigned because of aggravated and intolerable

 5      employment action and conditions.

 6      104. Whether Ben Trotter had knowledge of Erwine’s alleged intolerable

 7      conditions of employment and the situation could have been remedied.

 8      105. Whether Michael Erwine sustained lost wages caused by false,

 9      stigmatizing statements made by Ben Trotter.

10      106. Whether Michael Erwine sustained damage to his reputation caused by

11      false, stigmatizing statements made by Ben Trotter.

12      VI. The following are the issues of law to be to be tried and determined at

13      trial.

14
        (a) Plaintiff’s Statement of Issue of Law to be tried and determined at trial:
15      1.        Whether Benjamin Trotter and Churchill County violated Mr. Erwine’s
16      Due Process rights under the 14th Amendment and the Nevada Constitution to
17      a name clearing hearing before placing stigmatizing information in his employee
18      file and publishing the information to at least one third party. At the close of
19      evidence both parties intend to move under Rule 50 for judgment as a matter
20      of law.
21      2.        Whether Mr. Erwine should be permitted to call an adverse witness, use
22      leading questions, and limit the testimony of witness to the scope of Plaintiff’s
23      direct examination.
24      3.        Whether the admitted disclosure of Erwine’s personnel file to Washoe
25      County by Churchill County pursuant to the provisions of NRS 239B.020
26      constitutes public disclosure under the test in Mustafa v. Clark County Sch.
27      Dist., 157 F.3d 1169, 1179 (9th Cir. 1998).
28


                                             13
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 14 of 29




 1      4.     Whether total deprivation of Erwine’s due process rights of peace officers

 2      provided in NRS 289.020 et. seq also constitutes a violation of the right to due

 3      process provided in Article 1. Sec. 8(2) of the Nevada Constitution.

 4
        (b) Defendants’ Statement of Issues of Law to be tried and determined at
 5
        trial:
 6

 7      1.     Whether Ben Trotter and/or Churchill County deprived Erwine of a

 8      constitutionally protected liberty interest without adequate process in violation

 9      of the Fourteenth Amendment of the United States Constitution and/or Article

10      I, Section 8(5) of the Nevada Constitution.

11      2.     Whether Michael Erwine sustained compensable damages as a result of

12      the deprivation of a constitutionally protected liberty interest.

13      3.     Whether Michael Erwine is entitled to equitable relief from the Court in

14      the form of back pay or front pay as a result of the alleged deprivation of a

15      protected liberty interest.

16      4.     Whether Ben Trotter is immune from suit based upon qualified immunity.

17      5.     Whether Michael Erwine failed to mitigate his damages.

18      6.     Whether the conduct attributed to Ben Trotter was privileged.

19      7.     Whether Michael Erwine is entitled to seek damages for lost wages,

20      including back pay and front pay, after January 8, 2018, and his

21      commencement of employment with the Pyramid Lake Paiute Tribe.

22      8.     In the alternative, whether Michael Erwine is entitled to damages for lost

23      wages, including back pay and front pay, after November of 2019, and his

24      commencement of employment with the Washoe Tribe of Nevada and

25      California.

26      9.     In the alternative, whether Michael Erwine is entitled to seek damages for

27      lost wages, including back pay and front pay, after March 11, 2021, following

28      his rejection of Churchill County’s offer of employment.


                                             14
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 15 of 29




 1      10.    Whether the Defendants are entitled to discretionary act immunity

 2      pursuant to NRS 41.032(2).

 3      11.    Any damages recovered by Michael Erwine under claims based upon

 4      state law, including Article I, Section 8(5) of the Nevada Constitution, are

 5      capped at $100,000 total pursuant to NRS 41.035.

 6      12.    Whether, by a preponderance of the evidence, Ben Trotter and Churchill

 7      County defamed Michael Erwine.

 8      13.    Whether, by a preponderance of the evidence, Michael Erwine was

 9      constructively discharged from the employment of Churchill County in violation

10      of public policy.

11      14.    Whether, by a preponderance of the evidence, Ben Trotter and Churchill

12      County intentionally interfered with Michael Erwine’s prospective employment

13      relationship.

14      VII. Exhibits

15      (a)    The following exhibits are stipulated into evidence in this case and

16      may be so marked by the clerk:

17       i.Plaintiff’s Exhibits

18      1.     Employment Application submitted by M. Erwine to Churchill County for

19      Deputy Sheriff Position - ERW0005-ERW0008

20      2.     Letter from Churchill County re: offer of employment for position of

21      Detention Deputy at $21.44 per hour - ERW0009

22      3.     Code of Ethical Standards Acknowledgement - ERW011

23      4.     Job Description for Deputy Sheriff Detention with Churchill County

24      signed M. Erwine – ERW0019-ERW0022

25      5.     Official Oath (Churchill County Sheriff’s Office appointment of M. Erwine

26      to serve as Deputy Sheriff) Doc #450497 - ERW0023-ERW0026

27      6.     Employee Evaluation Report (rating period from 12/9/15-3/9/16) from

28      Churchill County Sheriff’s Office re: M. Erwine - ERW0029-ERW0032


                                           15
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 16 of 29




 1      7.    Booking Sheet for Inmate # J16-1148 from Churchill County Sheriff’s

 2      Office re: Andrew Allen Beaulieu (SSN Redacted) - ERW0037;

 3      8.    Letter from Deputy Thompson to Sheriff Trotter re Inmate Beaulieu and

 4      Deputy Erwine - ERW0039-ERW0040

 5      9.     Letter from Sgt Summers to Sheriff Trotter re Andrew Beulieu and Dep

 6      Erwine - ERW0041-ERW0042

 7      10.    Narrative report re Andrew Beaulieu - ERW0043

 8      11.    Security Unit Observation Sheet - ERW0044

 9      12.    Word document from Erwine's computer with notes from Beaulieu's

10      incident - ERW0045-ERW0046

11      13.    Incident Report from Deputy Jabines re taser with Maes - ERW0047

12      14.    Taser Report - ERW0048-ERW0050

13      15.    Employee Action Notice re: M. Erwine's resignation effective 10/10/2016

14      - ERW0051

15      16.    Letter of Separation from Churchill County Sheriff’s Office - ERW0052

16      17.    Memo to Personnel File re- Failure to Follow proper chain of 10/10/16

17      command - ERW0053-ERW0055

18      18.    Fax from Washoe County Sheriff to Churchill County Sheriff’s Office

19      requesting information regarding preemployment background check for M.

20      Erwine (SSN Redacted) - ERW0064-ERW0065

21      19.    Chap 3.380 - Use of Force - ERW0409-ERW0412

22      20.    Chap 4.047 - Ethics (Detention) - ERW0466-ERW0467

23      21.    Chap 4.193 - Use of Force (Jail) - ERW0531-ERW0534

24      22.    CONFIDENTIAL Washoe County Supp Response to Subpoena: WC

25      0001-0130

26      23.    Washoe County Privilege Log – 688-689

27      24.    CONFIDENTIAL LVMPD Subpoena Response – ERWINE 001601-

28      001603; ERWINE 001604-001678; ERWINE 001681-001729;


                                          16
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 17 of 29




 1      25.     Email from Trotter - DEF 00230

 2      ii. Defendant’s Exhibits

 3      500. Daily Observation Reports bate-stamp numbered DEF00001-DEF00126;

 4      501.   Letter of Recommendation from Michael Sean Giurlani bate-stamp

 5      numbered DEF00187;

 6      502. Supervisor’s Comment dated August 11, 2016, bate-stamp numbered

 7      DEF00195;

 8      503. Counseling Note dated October 7, 2016, bate-stamp numbered

 9      DEF00194;

10      504. CONFIDENTIAL Erwine’s 2016 Income Tax Records bate-stamp

11      numbered ERWINE001344-00135;

12      505. CONFIDENTIAL Erwine’s 2017 Income Tax Records bate-stamp

13      numbered ERWINE001420;

14      506.    CONFIDENTIAL Erwine’s 2018 Income Tax Records bate-stamp

15      numbered ERWINE001497-001498;

16      507.    CONFIDENTIAL Erwine’s 2019 Income Tax Records bate-stamp

17      numbered ERWINE001596-01598;

18      (b)    As to the following exhibits, the party against whom the same will be

19      offered objects to their admission on the grounds stated:

20      i. Plaintiff’s exhibits and objections to them:

21      26.    Incident Report From Z. White re: mistreatment of man that was booked

22      in blueroom - ERW0038; Hearsay (FRE 802)

23      27.    Letter from Washoe County Sheriff’s Office to Erwine withholding offer

24      of employment because of disqualification - ERW0066; Hearsay (FRE 802)

25      28.    Email from Las Vegas Metro Police Department indefinitely disqualified

26      from eligibility based of employment history -ERW0067; Hearsay (FRE 802);

27      29.    Letter from Carson City Department of Alternative Sentencing

28      disqualifying eligibility for employment - ERW0068; Hearsay (FRE 802)


                                           17
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 18 of 29




 1      30.     Letter from Douglas County Sheriff’s Office unsuccessful background

 2      evaluations - ERW0069; Hearsay (FRE 802)

 3      31.     Letter to Mark A. Wright from Mark Wright re: letter of recommendation

 4      for M. Erwine - ERW0070; Relevance (FRE 402); Hearsay (FRE 802)

 5      32.     Letter North Las Vegas to M. Erwine ineligible to continue in the

 6      employment process - ERW0071; Hearsay (FRE 802)

 7      33.     Letter from Reno Police Department to M. Erwine rejected application -

 8      ERW0072; Hearsay (FRE 802)

 9      34.     Letter from DPS Rejecting Erwine from Employment – ERW0620;

10      Hearsay (FRE 802)

11      35.     Chap 7 Investigations Division - ERW0590; Relevance (FRE 402)

12      36.     Affidavit of Matthew Maes - ERW0616-ERW0617; Hearsay (FRE 802);

13      37.     Affidavit of Andrew Allen Beaulieu - ERW0618-ERW0619; Hearsay (FRE

14      802)

15      38.     Recording of St. Summers threatening Erwine after incident involving

16      Samuel Davis; Relevance (402); Prejudicial (FRE 403) ; Prior Bad Acts (FRE

17      404);

18      39.     Certification of Records from Fallon PD: 687; Relevance (FRE 402);

19      Prejudicial (FRE 403); Prior Bad Acts (FRE 404);

20      40.     Video and Documents in Response to Subpoena to Fallon PD;

21      Relevance (FRE 402); Prejudicial (FRE 403); Prior Bad Acts (FRE 404);

22      41.     PLPT Background Letter: 690; Hearsay (FRE 802);

23      42.     Timmons Texts - 696-705; Relevance (FRE 402); self-serving statements

24      of Plaintiff Erwine;

25      43.     Letter from Jimmy Thomas - 1338-1341; Relevance (FRE 402);

26      Prejudicial (FRE 403); Prior Bad Acts (FRE 404); Hearsay (FRE 802);

27      44.     LVMPD Emails re Ranking - 1342-1343; Hearsay (FRE 802);

28


                                           18
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 19 of 29




 1      45.     Jimmy Thomas Declaration -1599; Relevance (FRE 402); Prejudicial

 2      (FRE 403); Relevance (FRE 402); Prejudicial (FRE 403); Prior Bad Acts (FRE

 3      404); Hearsay (FRE 802);

 4      46.     CONFIDENTIAL LVMPD Subpoena Response - 1600-1731; Defendants

 5      object to those portions of this Exhibit bate-stamp numbered ERWINE 001602-

 6      001603; 001679-001680 AND 001730-001731 on hearsay and double hearsay

 7      grounds (FRE 802)

 8      47.     Declaration of Casey Ryan: 1732; Hearsay (FRE 802); late-disclosed

 9      documents (FRCP 37(c)(1);

10      48.     Declaration of Leslie Hawley: 1733; Hearsay (FRE 802); late-disclosed

11      documents (FRCP 37(c)(1);

12      49.     Certified Copy of City of Reno Rejection Letter: 1734; Hearsay (FRE

13      802);

14      50.     Churchill County’s November 25, 2021 Responses to Plaintiff’s First

15      Request for Admission; Object to those portions of Churchill County’s

16      November 25, 2021, responses to requests for admissions which contain

17      objections being admitted as evidence;

18      51.     Churchill County’s First Supplemental Responses to Plaintiff’s First

19      Requests for Admission; Object to those portions of Churchill County’s

20      November 25, 2021, responses to requests for admissions which contain

21      objections being admitted as evidence;

22      ii. Defendant’s exhibits and objections to them.

23      508.    Letter of Recommendation from Don Gibson bate-stamp numbered

24      DEF00188; OBJECTION – DUI Inadmissible as prejudicial and irrelevant per

25      FRE 403, 609, and for a conviction occurring more than 10 years ago per NRS

26      50.095.

27      509. Background Investigation Materials, Churchill County Sheriff’s Office,

28      bate-stamp numbered DEF00267-DEF00297; OBJECTION – DUI Inadmissible


                                          19
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 20 of 29




 1      as prejudicial and irrelevant per FRE 403, 609, and for a conviction occurring

 2      more than 10 years ago per NRS 50.095.

 3      510. Letter from Washoe Tribe of Nevada and California dated July 10, 2019,

 4      bate-stamp numbered ERWINE 000621; OBJECTION – FRE 403 irrelevant and

 5      prejudicial FRE 803 Hearsay

 6      511. Offer of Employment to Michael Erwine from Sheriff Richard Hickox dated

 7      March 11, 2021; OBJECTION – Settlement communication under FRE 408,

 8      Hearsay (FRE 802); late-disclosed documents FRCP 37(c)(1).

 9      (c) Electronic evidence:

10             i. January 25, 2021 Video Deposition of Matthew Maes.

11            ii. February 9, 2021 Video Deposition of Aubrey Corwin.

12           Defendants do not intend to present electronic evidence for purposes of jury

13           deliberations.

14      (d) Depositions:

15      i. Plaintiff will offer the following depositions:

16      1.      January 25, 2021 Video Deposition of Matthew Maes.           Mr. Maes is

17      currently residing in Washington State, more than 100 miles from the place of

18      trial in this matter. See FRCP 32(a)(4)(B).

19      2.      February 9, 2021 Video Deposition of Aubrey Corwin. Ms. Corwin is

20      currently residing in Colorado, more than 100 miles from the place of trial in this

21      matter. See FRCP 32(a)(4)(B).

22      ii. Defendant will offer the following depositions: Other than the potential

23      use of deposition testimony for impeachment purposes, none

24      (e) Objections to depositions:

25      i. Defendant objects to plaintiff’s depositions as follows:

26      1.      Defendants do not object to the use of deposition testimony in the event

27      the witness in question is located more than 100 miles from the place of trial.

28


                                            20
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 21 of 29




 1      In so doing, the Defendants do not waive any objections made to the testimony

 2      of any such witnesses during the depositions.

 3      ii. Plaintiff objects to defendant’s depositions as follows:

 4      VIII. The following witnesses may be called by the parties at trial:

 5      (a) Plaintiff’s Lay Witnesses:

 6      1.     Michael Erwine – c/o Luke Andrew Busby, Ltd. 316 California Ave, Reno

 7      NV 89509 – Mr. Erwine Is the plaintiff in this matter and may testify as to his

 8      knowledge of the facts in this case, including but not limited to, the

 9      circumstances surrounding his termination from the Churchill County Sheriff’s

10      Office and the impact on his career as a result of the statements of Sheriff

11      Trotter.

12      2.     Former Sheriff Benjamin Trotter, c/o Katherine F. Parks, Esq., Thorndal

13      Armstrong, 6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Sheriff Trotter

14      is the defendant in this matter and may testify as to his knowledge of the facts

15      in this case, including but not limited to his statements about Mr. Erwine in his

16      October 20, 2016 Memorandum.

17      3.     Matthew Maes, Contact Information Unknown – Mr. Maes was an inmate

18      at the Churchill County Jail during the time that Mr. Erwine worked there, and

19      may testify as to his knowledge of the facts in this case, including but not limited

20      to the treatment of inmate Beulieu and the incident involving Maes.

21      4.     Zachary White. Contact Information Unknown – Mr. White was an inmate

22      at the Churchill County Jail during the time that Mr. Erwine worked there, and

23      may testify as to his knowledge of the facts in this case, including but not limited

24      to the treatment of inmate Beulieu.

25      5.     Andrew Allen Beaulieu, P.O. Box 1102, Fallon, Nevada, 89407, (775)

26      301-9103. Mr. Beaulieu was an inmate at the Churchill County Jail during the

27      time that Mr. Erwine worked there, and may testify as to his knowledge of the

28      facts in this case, including but not limited to his treatment at the Jail.


                                              21
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 22 of 29




 1      6.    Don Gibson – (redacted address in public court filings: See NRS

 2      289.025) Mr. Gibson was Erwine’s instructor at the police academy and may

 3      testify as to his knowledge of the facts in this case, including but not limited to

 4      Erwine’s performance as a police officer.

 5      7.    Deputy Matt Timmons – Mr. Timmons was a Deputy at the Churchill

 6      County Sheriff’s Office during the time that Mr. Erwine worked there, and may

 7      testify as to his knowledge of the facts in this case, including but not limited to

 8      Erwine’s performance as a police officer.

 9      8.    Terry Bernard – Las Vegas Metropolitan Police Department 400 S. Martin

10      L. King Boulevard, Las Vegas, Nevada, 89106, 702-828-3111. Mr. Bernard was

11      a background investigator at LVMPD, and may testify as to his knowledge of the

12      facts in this case, including but not limited to Mr. Erwine’s application for

13      employment at LVMPD, the background investigation into Mr. Erwine, and

14      LVMPD’s reasons for not hiring Mr. Erwine.

15      9.    Jerry Baldridge – Washoe County Sheriff’s Office, 911 Parr Blvd. Reno,

16      NV 89512, 775-382-3001. Mr. Baldridge authored the letter dated January 17,

17      2017 rejecting Erwine from being considered for employment at the WCSO and

18      may testify as to his knowledge of the facts in this case, including the reasons

19      for Erwine’s rejection from WCSO.

20      10.   Tad Fletcher, Carson City Department of Alternative Sentencing, 885 E

21      Musser St, Carson City, NV 89701 (775) 887-2528. Mr. Fletcher authored the

22      letter dated September 8, 2017 rejecting Erwine from being considered for

23      employment at CCDAS and may testify as to his knowledge of the facts in this

24      case, including the reasons for Erwine’s rejection from CCDAS.

25      11.   Paul T. Howell, Douglas County Sheriff’s Office, PO Box 218, Minden,

26      Nevada, 89423. 775-782-9900. Mr. Howell authored the letter dated September

27      12, 2017 rejecting Erwine from being considered for employment at DCSO and

28


                                            22
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 23 of 29




 1      may testify as to his knowledge of the facts in this case, including the reasons

 2      for Erwine’s rejection from DCSO.

 3      12.    Officer L. Lee #11848, North Las Vegas Police Department. 2332 N. Las

 4      Vegas Blvd, North Las Vegas, NV 89030. 702-633-9111. Mr. Lee authored the

 5      letter dated November 14, 2017 rejecting Erwine from being considered for

 6      employment at NLVPO and may testify as to his knowledge of the facts in this

 7      case, including the reasons for Erwine’s rejection from NLVPO.

 8      13.    Detective Bowden, Reno Police Department, PO Box 1900, Reno, NV

 9      89505, 775-334-2121. Mr. Bowden authored the letter dated March 1, 2018

10      rejecting Erwine from being considered for employment at RPD and may testify

11      as to his knowledge of the facts in this case, including the reasons for Erwine’s

12      rejection from RPD.

13      14.    Officer Jessica Zamora – Officer Jessica Zamora, Fallon Police

14      Department, 55 W Williams Ave., Fallon, Nevada 89406-2999, 775-423-2111.

15      Officer Zamora filed a complaint against St. Summers with the Fallon police

16      department and may testify as to her knowledge of the facts in this case.

17      15.    Deputy Mike Davis - c/o Katherine F. Parks, Esq., Thorndal Armstrong,

18      6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Deputy Davis was a field

19      training officer who trained Erwine and may testify as to his knowledge of the

20      facts in this case

21      16.    Sergeant Summers – c/o Katherine F. Parks, Esq., Thorndal Armstrong,

22      6590 S. McCarran Blvd. Suite B., Reno, NV 89509 Testify as to conversations

23      with Erwine surrounding his termination – authenticate his own voice on

24      recording

25      17.    Captain Matheson – c/o Katherine F. Parks, Esq., Thorndal Armstrong,

26      6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Captain Matheson

27      conducted “investigation” into Beaulieu incident and may testify as to his

28


                                            23
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 24 of 29




 1      knowledge of the facts in this case, including but not limited to the

 2      circumstances surrounding Mr. Erwine’s termination from Churchill County.

 3      18.   Jimmy Thomas - Jimmy Thomas, Inmate #55004 1721 Snyder Ave.

 4      Carson City, NV 89701, Mr. Thomas can testify to his knowledge of the facts in

 5      this case, including but not limited to, his treatment at the Churchill County Jail

 6      as described in Mr. Erwine's Amended Complaint.

 7      19.   Jessee Nuckolls – c/o Katherine F. Parks, Esq., Thorndal Armstrong,

 8      6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Mr. Nuckolls was Mr.

 9      Erwine’s supervisor at the Churchill County Jail, and may testify as to his

10      knowledge of the facts in this case, including but not limited to Mr. Erwine’s

11      performance at the Jail.

12      20.   Jolie Jabines/Roat – c/o Katherine F. Parks, Esq., Thorndal Armstrong,

13      6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Ms. Jabines authored the

14      statement in Mr. Erwine’s employee file at ERW0047, and may testify as to her

15      knowledge of the facts in this case, including but not limited to, the incident

16      involving Matthew Maes that occurred on October 9, 2016.

17      21.   Darren Thompson – c/o Katherine F. Parks, Esq., Thorndal Armstrong,

18      6590 S. McCarran Blvd. Suite B., Reno, NV 89509. Mr. Thompson authored

19      the statement in Mr. Erwine’s employee file at ERW0039, and may testify as to

20      his knowledge of the facts in this case, including but not limited to, the incident

21      involving Andrew Beaulieu that occurred on October 8, 2016.

22      22.   Mark Write, 3404 Imperial Way Apt. E, Carson City, Nevada, 89706, (775)

23      430-0886. Write is a former supervisor of Erwine who authored a reference

24      letter contained in Erwine’s employee file, and may testify as to his knowledge

25      of the facts in this case, including but not limited to Erwine’s professionalism

26      and performance in the law enforcement/ security field.

27      23.   Casey Ryan, 950 US Highway 395 South, Gardnerville, NV 89410, 1 775-

28      265-7540. Mr. Ryan is a Sergeant at Washoe Tribe Police Department. Mr. Ryan


                                            24
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 25 of 29




 1      was Mr. Erwine’s background investigator during the hiring process. Mr. Ryan

 2      can testify to his knowledge of Mr. Erwine’s background investigation.

 3      24.    Leslie Hawley, Human Resources Department, Pyramid Lake Paiute

 4      Tribe, PO Box 256, Nixon, Nevada 89424. 775-574-1000. Ms. Hawley is a

 5      human resources manager at the Pyramid Lake Paiute Tribe and authored the

 6      letter disclosed at ERW 690. Ms. Hawley conducted Mr. Erwine’s background

 7      investigation during his hiring process. Ms. Hawley can testify to her knowledge

 8      of the facts in this case, including but not limited to Mr. Erwine’s background

 9      investigation.

10      25.    Scott Olson, Las Vegas Metropolitan Police Department 400 S. Martin L.

11      King Boulevard, Las Vegas, Nevada, 89106, 702-828-3111. Mr. Olson is a

12      background investigator at LVMPD. Mr. Olson conducted Mr. Erwine’s

13      background investigation during his hiring process. Mr. Olson can testify to his

14      knowledge of the facts in this case, including but not limited to Mr. Erwine’s

15      background investigation.

16      26.    Zack Westbrook, 950 US Highway 395 South, Gardnerville, NV 89410,

17      775-265-7540. Mr. Westbrook is Chief of Police Washoe Tribe Police

18      Department. Mr. Westbrook can testify to his knowledge of the facts in this

19      case, including but not limited to Mr. Erwine’s overall performance as an officer

20      as well as to the background that was conducted prior to Mr. Erwine’s

21      employment.

22      Plaintiff’s Expert Witnesses

23      1.     Gilbert Coleman, Ph.d. Pine View Court Reno, NV 89511 Phone: 775-

24      852-3252 Mr. Coleman is an economist who will testify as to his opinions in this

25      case as to Mr. Erwine’s economic damages, as further described in his report

26      and associated expert witness disclosures.

27      2.     Michael S. Giurlani, (redacted address in public court filings: See NRS

28      289.025). Mr. Giurlani is a retired peace officer who will testify as to his opinions


                                             25
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 26 of 29




 1      in this case as to employment practices for peace officers in the State of Nevada

 2      and Mr. Erwine’s allegations that his reputation and career prospects were

 3      injured by the actions of the Defendants, as further described in his report and

 4      associated expert witness disclosures.

 5      3.      Ronald Dreher, PO Box 40502 Reno, Nevada 89504 775-830-8877 Mr.

 6      Dreher is a police practices expert who will testify as to his rebuttal opinions in

 7      this case in response to the Defendant’s expert Aubrey Corwin, as further

 8      described in Mr. Dreher’s report and associated expert witness disclosures.

 9      (b) Defendant’s witnesses:

10      1. Michael Erwine, c/o Luke Busby, 316 California Avenue, 82, Reno, Nevada,

11      89509; (775) 453-0112;

12      2. Ben Trotter, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

13      Nevada, 89509, (775) 786-2882;

14      3. Shawn Summers, Post Office Box 1781, Fallon, Nevada, 89407, (775) 427-

15      5736;

16      4. Michael Matheson, 456 Ranchland Way, Fallon, Nevada, 89406, (775) 427-

17      5225;

18      5. Jolie Roat, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

19      Nevada, 89509, (775) 786-2882;

20      6. Mike Davis, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

21      Nevada, 89509, (775) 786-2882;

22      7. Lee Orozco, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

23      Nevada, 89509, (775) 786-2882;

24      8. Darren Thompson, 315 E. Main Street Unit 1155, Fernley, Nevada, 89408,

25      (775) 287-7145,

26      9. Samuel White, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

27      Nevada, 89509, (775) 786-2882;

28


                                            26
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 27 of 29




 1      10. Brian Miller, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

 2      Nevada, 89509, (775) 786-2882;

 3      11. Chris Burton, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

 4      Nevada, 89509, (775) 786-2882;

 5      12. Geoff Stark, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

 6      Nevada, 89509, (775) 786-2882;

 7      13. Jesse Nuckolls, c/o Katherine Parks, 6590 S. McCarran Blvd, Suite B, Reno,

 8      Nevada, 89509, (775) 786-2882;

 9      Defendants’ Expert Witnesses

10      1.    Aubrey Corwin, Vocational Diagnostics, Inc., 2828 N. Central Ave., Suite

11      1031, Phoenix, AZ, 85004

12      IX. The attorneys or parties have met and jointly offer these three trial

13      dates: The trial in this matter is scheduled to commence on February 28, 2022.

14      Calendar call is set for February 7, 2022.

15      Plaintiff’s Motions in Limine

16            3.     Exclude Erwine’s Criminal History

17            4.     Exclude Erwine’s Employment History Prior to Churchill County

18            5.     Limit Testimony of Defendant’s Expert and Exclude Legal

19            Opinions

20      Defendants’ Motions in Limine:

21            1.     Exclude testimony of Gilbert Coleman;

22            2.     Exclude testimony of Michael Giurlani;

23            3.     Exclude witnesses and documents disclosed after the expiration

24            of the discovery deadline;

25            4.     Exclude affidavits and declarations offered by Erwine

26            5.     Exclude all evidence and/or testimony related to Jimmy Thomas

27            incident;

28


                                           27
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 28 of 29




 1            6.     Exclude    all   evidence   and/or   testimony   related   to   Lacy

 2            Habberstead incident;

 3            7.     Exclude all evidence and/or testimony related to Samuel Davis

 4            incident;

 5            8.     Exclude all evidence and/or testimony related to incident(s)

 6            involving allegations that Sheriff’s Office employees improperly searched

 7            cell phones of female inmates

 8      X. It is estimated that the trial will take a total of 10-14 days:

 9            APPROVED AS TO FORM AND CONTENT:

10            DATED this Friday, January 28, 2022

11
                                          By:_ Katherine F. Parks, Esq._______
12                                          KATHERINE F. PARKS, ESQ.
                                            THORNDAL ARMSTRONG
13                                          6590 S. MCCARRAN BLVD. SUITE B.
14                                          RENO, NV 89509
                                            ATTORNEY FOR THE DEFENDANT
15
                                          By:_Luke Busby, Esq._____________
16
                                            LUKE BUSBY, ESQ.
17                                          NEVADA STATE BAR NO. 10319
                                            316 CALIFORNIA AVE #82
18                                           RENO, NV 89509
19                                          775-453-0112
                                            LUKE@LUKEANDREWBUSBYLTD.COM
20                                          ATTORNEY FOR PLAINTIFF
21

22

23

24

25

26

27

28


                                            28
 Case 3:18-cv-00461-RCJ-CSD Document 142 Filed 02/03/22 Page 29 of 29




 1

 2                            XI. ACTION BY THE COURT

 3     This case is set for court/jury trial on the fixed/stacked calendar on Monday,

 4     February 28, 2022, Calendar call will be held on Monday, February 7, 2022.

 5

 6      DATED: February 3, 2022.
                                    ____________________________________
 7                                  ROBERT C. JONES
                                    UNITED STATES DISTRICT JUDGE
 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28


                                            29
